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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

In re: Case No.: 3:24-bk-)0496-BAJ
GENIE INVESTMENTS NV, INC. Chapter 11
Debtor.
AFFIDAVIT OF PROPOS=D ATTORNEY
STATE OF FLORIDA
COUNTY OF DUVAL

BEFORE ME, the undersigned authority, personaly appeared BRYAN K. MICKLER,

who being duly sworn, deposes and says:

1.

I, BRYAN K. MICKLER, am an attoraey-at-law duly licensed to practice in the
State and admitted to practice tefore the Urited States Bankruptcy Court for the
Middle District of Flozica and the United States District Court for the Middle
District of Florida;

The undersigned attorney maintains his of-ice at 5452 Arlington Expressway,
Jacksonville, Florida 32271;

To the best of my knowledge, I am nct a creditor, an equity security holder or an
insider as provided in Section 101/14)*<); I am not and was not a director, officer,
employee of the Debtcr as provided in Section 101(14)(b); [ have no interests
materially adverse to th> Debtor as set forth ia Sec-ion 101714) <c);

To the best of my knowledge, I am a d_sinterested derson;

I do not represent the shareholders, equ:ty incerests or other related/insider parties

in any other matters;
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6. Rates for the firm rang2 from $30.00-$400.00 per hour.

I declare (or certify,

5 a) uader penalty of that the foregoing is true and correct.

§, 2024.

meee MICKLEE.

Executéd on February 2

